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                                                  June 5, 2023
 The Honorable Christopher J. Burke                                      VIA ELECTRONIC FILING
 United States District Court
   for the District of Delaware
 844 North King Street
 Wilmington, DE 19801

           Re:        Diogenes Limited, et al. v. DraftKings, Inc.,
                      C.A. No. 21-1695 (MN) (CJB) (D. Del.)

 Dear Magistrate Judge Burke:

         We represent DraftKings in the above-captioned matter. Colossus wrote to object to
 Your Honor’s consideration of certain of the slides that DraftKings intends to present at the
 hearing tomorrow (June 6, 2023) concerning Colossus’ pending Motion to Dismiss (D.I. 74).
 Colossus’ objections should be overruled and DraftKings should be permitted to discuss these
 slides with Your Honor at the hearing.

        Colossus lodges two objections in this regard: (1) as to whether those documents are
 already in the record and their relevance; and (2) as to confidentiality markings on the
 documents.

         First, the documents cited in the slides Colossus complains about were only recently
 produced. They were produced after DraftKings filed its first amended answer (D.I. 70) on
 February 7, 2023, and after DrafttKings filed its opposition (D.I. 80) to Colossus’ motion to
 dismiss (D.I. 74). D.I. 102 (DraftKings Reply in Support of Motion to file Sur-reply).1 These
 particular documents, many of which were produced less than two weeks ago by Mr. Marantelli
 himself, show with crystal clarity that Mr. Marantelli was well aware that Betfair (and indeed
 another third party—William Hill) offered a cash out capability that predated his patent
 application. This is directly relevant to the instant motion because Colossus has argued that:

                 “DK has not pled that the inventor or his counsel knew of Betfair’s allegedly
           material ‘buy-out’ or ‘cash out’ functions[.]” D.I. 75 at 10.


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   All of the documents are now of record by virtue of the briefing on DraftKings’ motion for
 leave to file a sur-reply. D.I. 93 & D.I 102.
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               “DK does not plausibly plead facts that fill any of these gaps or demonstrate
        knowledge of the allegedly material Betfair ‘cash out’ or ‘buy-out’ functionalities.”
        D.I. 75 at 11.

               “DK has not pled any underlying facts that might show that the inventor either
        knew of Betfair’s cash out function before September 6, 2012, or intentionally withheld
        this knowledge from the PTO with a specific intent to deceive.” D.I. 75 at 12.

        The documents that DraftKings’ slides highlight show that, in fact, Mr. Marantelli did
 know about Betfair’s “cash out” functionality well prior to his own invention, despite his
 lawyer’s statements in this case.

         Moreover, Colossus seeks to dismiss and strike DraftKings’ inequitable conduct
 affirmative defense and counterclaims “with prejudice” on the grounds of “futility.” D.I. 75 at
 19-20. The additional documents that Colossus has just produced show that, were the Court to
 believe the current pleadings are not sufficient (which DraftKings believes they are), it would not
 be “futile” to permit amendment to plead additional facts.

        Second, Colossus complains that these documents are designated as “RESTRICTED –
 OUTSIDE ATTORNEYS’ EYES ONLY” and should not be displayed publicly in open court.
 DraftKings is willing to make its presentation using paper copies of its slides only and
 additionally consider any other protections that Colossus may request.

                                              Respectfully,

                                              /s/ Rodger D. Smith II

                                              Rodger D. Smith II (#3778)

 RDS/bac

 cc:    All Counsel of Record (via electronic mail)
